Case 1:15-cv-01045-STA-egb Document 47 Filed 06/05/15 Page 1 of 5                     PageID 467



                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TENNESSEE
                                   EASTERN DIVISION

LOUIS SAIA,                                               )
                                                          )
         Plaintiff,                                       )
                                                          )
 vs.                                                      )
                                                          )
 FJ MANAGEMENT, INC. d/b/a FLYING J, INC.,                )
 FLYING J INSURANCE SERVICES, INC., and/or                ) Case No. 1:15cv1045 JDB-egb
 its Successor, THE BUCKNER COMPANY,                      )
 TRANSPORTATION ALLIANCE BANK, INC.,                      )
 TRANSPORTATION ALLIANCE LEASING,                         )
 LLC, TAB BANK, INC., TAB BANK, INC. d/b/a                )
 TRANSPORTATION ALLIANCE LEASING,                         )
 LLC, JAGJIT “J.J.” SINGH, STEPHEN PARKER,                )
 JOHN DOES A, B, and C, AND JANE DOES A, B,               )
 and C,                                                   )
                                                          )
         Defendants.                                      )

   DEFENDANT JAGJIT “J.J.” SINGH’S MOTION TO DISMISS THE COMPLAINT


         Defendant Jagjit “J.J.” Singh (“Defendant” or “Mr. Singh”), by his undersigned counsel,

hereby respectfully moves to dismiss with prejudice the Complaint filed by Plaintiff Louis Saia

(“Plaintiff”). As set forth in Defendant’s Memorandum of Law submitted contemporaneously

herewith, Plaintiff’s claims against Mr. Singh are subject to dismissal because they are barred by

the doctrine of res judicata; because Plaintiff lacks standing; because the Complaint is an

improper collateral attack on prior rulings of other courts; and because they fail under Rules

12(b)(6) and 9(b).

         In this lawsuit, Plaintiff seeks to re-litigate claims that were previously adjudicated by

two Utah state courts in 2012. In the first Utah case, Plaintiff asserted claims in a counterclaim

and third-party complaint against TAB and Flying J. The Utah court dismissed Plaintiff’s claims




61352753.2
Case 1:15-cv-01045-STA-egb Document 47 Filed 06/05/15 Page 2 of 5                      PageID 468



on the grounds that he lacked standing, reasoning that the claims belonged to his company, St.

Michael. TAB eventually filed a motion for summary judgment on its claims against Plaintiff.

In his opposition, Plaintiff attempted to defeat TAB’s motion for summary judgment by

rearguing his dismissed claims. After a full round of briefing and oral argument, the Utah court

granted TAB’s motion for summary judgment and entered judgment against Plaintiff in the

amount of $1,331,646.

         In a separate Utah legal proceeding, filed while the above lawsuit was still pending,

Plaintiff filed another complaint against TAB and Flying J. This complaint asserted the same

factual allegations and claims as Plaintiff asserted before against TAB and Flying J. In April

2012, the Utah court entered an order dismissing Plaintiff’s complaint with prejudice and on the

merits. In addition, the Utah court granted TAB’s motion for attorneys’ fees.

         All of Plaintiff’s claims in this current lawsuit were asserted in those previous Utah

actions (and/or could and should have been asserted there). The only possible exceptions are

Plaintiff’s claims for abuse of process and malicious prosecution. However, those claims are

only asserted against TAB, and not Mr. Singh.

         In a separate legal proceeding, in 2008, St. Michael filed for Chapter 11 bankruptcy in the

U.S. Bankruptcy Court for the Western District of Tennessee. This was later converted into a

Chapter 7 bankruptcy. In 2013, after the Utah court dismissed Plaintiff’s claims for lack of

standing, the bankruptcy trustee for St. Michael filed an adversary proceeding against TAB,

Flying J, and Mr. Singh (and some other related parties). The trustee’s complaint asserted

essentially the same claims as Plaintiff asserted in the Utah actions. All defendants in the

adversary proceeding have filed motions to dismiss, which are now fully briefed.                The

bankruptcy court has set a hearing on those motions to dismiss for June 23, 2015. Significantly,




61352753.2                                        2
Case 1:15-cv-01045-STA-egb Document 47 Filed 06/05/15 Page 3 of 5                         PageID 469



Plaintiff’s Complaint in this lawsuit is almost entirely a word-for-word copy of the bankruptcy

trustee’s complaint.

         Plaintiff’s Complaint should be dismissed as a matter of law on multiple grounds.

Specifically:

         1.       Plaintiff’s claims are barred by the doctrine of res judicata.

         2.       Plaintiff’s claims are barred by the doctrine of collateral estoppel.

         3.       Plaintiff lacks standing to assert these claims because they belong to St. Michael
                  (as the Utah court ruled).

         4.       Plaintiff’s claims are barred because they are an impermissible collateral attack on
                  the judgments in the Utah actions; and because this Court lacks jurisdiction to sit
                  in review of those judgments under the Rooker-Feldman doctrine.

         5.       Plaintiff’s claims are barred because they are an impermissible collateral attack on
                  the order entered by the bankruptcy court in St. Michael’s bankruptcy proceeding.

Finally, even if Plaintiff’s claims were not barred for all of the above reasons, they should be

dismissed because they are substantively meritless and fail under Rule 12(b)(6) and Rule 9(b).

The various grounds for dismissal under Rule 12(b)(6) and Rule 9(b) are discussed in Section IV

of the accompanying Memorandum of Law. For example, most of Plaintiff’s claims are barred

by the statute of limitations and/or lack a private right of action (among multiple other grounds

for dismissal).

         DATED this ___ of June, 2015.




61352753.2                                          3
Case 1:15-cv-01045-STA-egb Document 47 Filed 06/05/15 Page 4 of 5         PageID 470



                                   Respectfully submitted,

                                   /s/ Amber D. Floyd
                                   Douglas M. Alrutz, (TN #11389)
                                   Amber D. Floyd (TN #29160)
                                   WYATT, TARRANT & COMBS, LLP
                                   Aaron Brenner Drive, Suite 800
                                   Memphis, TN 38120
                                   Telephone: (901) 537-1000
                                   Facsimile: (901) 537-1010
                                   dalrutz@wyattfirm.com
                                   afloyd@wyattfirm.com

                                   MANNING CURTIS BRADSHAW
                                      & BEDNAR LLC
                                   Alan C. Bradshaw (pro hac vice)
                                   James E. Ji (pro hac vice)
                                   East South Temple, Suite 1300
                                   Salt Lake City, UT 84111
                                   Telephone: (801) 363-5678
                                   Facsimile: (801) 364-5678
                                   abradshaw@mc2b.com
                                   jji@mc2b.com

                                   Attorneys for Defendant Jagjit “J.J.” Singh




61352753.2                            4
Case 1:15-cv-01045-STA-egb Document 47 Filed 06/05/15 Page 5 of 5                     PageID 471



                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on the 5th day of June, 2015, a copy of the
foregoing was filed electronically. Notice of this filing will be sent by operation of the Court’s
electronic filing system to all parties indicated on the electronic filing receipt. Parties may
access this filing through the Court’s electronic filing system. A copy of the foregoing was also
sent via electronic mail to following:

Michael L. Weinman                                  Gene L. Humphreys
WEINMAN & ASSOCIATES                                BASS, BERRY & SIMS, PLC
112 S. Liberty Street, Ste. 321                     150 Third Avenue South, Suite 2800
P.O. Box 266                                        Nashville, Tennessee 37201
Jackson, Tennessee 38302                            ghumphreys@bassberry.com
mike@weinmanandassoc.com
Attorneys for Plaintiff                             John S. Golwen
                                                    J. Brook Lathram
                                                    Jonathan E. Nelson
Michael A. Gehret                                   BASS, BERRY & SIMS, PLC
Douglas Farr                                        100 Peabody Place, Suite 900
SNELL & WILMER, L.L.P.                              Memphis, Tennessee 38103
15 W. South Temple, Suite 1200                      jgolwen@bassberry.com
Salt Lake City, Utah 84101                          blathram@bassberry.com
mgehret@swlaw.com                                   jenelson@bassberry.com
dfarr@swlaw.com                                     Attorneys for Defendants, Flying J. Inc., FJ
Attorneys for Transportation Alliance Bank,         Management, Inc. d/b/a Flying J. Inc., Flying
Inc., Transportation Alliance Leasing, LLC,         J. Insurance Services, Inc., and The Buckner
and Stephen Parker                                  Company


                                              /s/ Amber D. Floyd




61352753.2                                      5
